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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                        CRIMINAL ACTION NO. 19-00146-01

 VERSUS                                          JUDGE S. MAURICE HICKS, JR.

 KENTRELL DEMARCIA TURNER                        MAGISTRATE JUDGE HORNSBY

                                MEMORANDUM RULING

       Before the Court is Petitioner Kentrell Demarcia Turner’s (“Turner”) Motion for

 Compassionate Release (Record Document 56; see also Record Document 57). The

 Government has opposed Turner’s motion. See Record Document 62. 1 For the reasons

 set forth below, Turner’s Motion for Compassionate Release is hereby DENIED.

                                     BACKGROUND

       On February 20, 2020, Turner pled guilty to possession of cocaine with intent to

 distribute and possession of a firearm in furtherance of drug trafficking. See Record

 Documents 34 & 36. Turner was sentenced on September 8, 2020 to 27 months as to

 the possession of cocaine with intent to distribute charge and 60 months as to the

 possession of a firearm in furtherance of drug trafficking charge, for a total of 87 months

 imprisonment. See Record Documents 48 & 50. His imprisonment shall be followed by

 three years of supervised release. See id.

       Turner is presently serving his sentence at Oakdale I FCI. His projected release

 date is June 27, 2025.




 1 The Government’s response was untimely in light of the deadlines set forth in the
 Standard Procedural Order. See Record Document 58. However, within its discretion,
 the Court hereby grants leave for such filing and will consider the Government’s
 opposition in deciding Turner’s Motion for Compassionate Release.
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                                   LAW AND ANALYSIS

        Turner seeks compassionate release due to certain medical conditions,

 specifically obesity, diabetes, and hypertension. See Record Document 56 at 3. Turner

 believes he is particularly vulnerable to becoming seriously ill should he contract COVID-

 19 in prison. See id. at 3-8.

        A judgment of conviction, including a sentence of imprisonment, “constitutes a final

 judgment and may not be modified by a district court except in limited circumstances.”

 Dillon v. United States, 560 U.S. 817, 824, 130 S.Ct. 2683, 2690 (2010). Title 18, United

 States Code, Section 3582(c) provides that the Court “may not modify a term of

 imprisonment once it has been imposed,” except in three circumstances:

        (1)    upon a motion by the Bureau of Prisons or the defendant for
               reduction of sentence under 18 U.S.C. § 3582(c)(1)(A);
        (2)    “to the extent otherwise expressly permitted by statute or by Rule 35
               of the Federal Rules of Criminal Procedure,” 18 U.S.C. §
               3582(c)(1)(B); or
        (3)    where the defendant was sentenced based on a retroactively
               lowered sentencing range, 18 U.S.C. § 3582(c)(2).

 In this case, Turner moves to modify his sentence pursuant 18 U.S.C. § 3582(c)(1)(A).

 Under this section, the Court may reduce a sentence “if it finds that extraordinary and

 compelling reasons warrant such a reduction” and “that such a reduction is consistent

 with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

 3582(c)(1)(A).

        Prior to 2018, only the Director of the BOP could file Section 3582(c)(1)(A) motions,

 also known as compassionate release motions. In 2018, Congress passed, and President

 Trump signed the First Step Act, which among other actions, amended the

 compassionate release process. Under the First Step Act, Section 3852(c)(1)(A) now

 allows prisoners to directly petition courts for compassionate release. However, before

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 filing compassionate release motions, prisoners must exhaust their administrative

 remedies in one of two ways:

        (1)    prisoners may file a motion with the court after fully exhausting all
               administrative rights to appeal the BOP’s decision not to file a motion
               for compassionate release, or
        (2)    prisoners may file a motion with the court after requesting release
               and there has been “the lapse of 30 days from the receipt of such
               request by the warden of the defendant’s facility, whichever is
               earlier.”

 18 U.S.C. § 3582(c)(1)(A).       There is no dispute that Turner has exhausted his

 administrative remedies and the Court will proceed to the merits.

        Subject to considerations of 18 U.S.C. § 3553(a), Section 3582(c)(1)(A) permits a

 reduction in Turner’s term of imprisonment if the Court determines that extraordinary and

 compelling reasons warrant a reduction. The reduction must be “consistent with

 applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

 3582(c)(1)(A). Previously, a district court was confined to the policy statements set forth

 in U.S.S.G. § 1B1.13 to determine whether a compelling reason existed to grant release.

 However, the Court of Appeals for the Fifth Circuit recently vacated this restricted

 examination finding that the policy statements contained under U.S.S.G. § 1B1.13 are

 only binding on the Court when the motion for compassionate release is brought on the

 prisoner’s behalf by the BOP. See U.S. v. Shkambi, No. 20-40543, 2021 WL 1291609,

 at *3 (5th Cir. 04/07/2021).

        The Fifth Circuit instructed that a district court considering a motion for

 compassionate release brought by the prisoner himself “is bound only by §

 3582(c)(1)(A)(i) and, as always, the sentencing factors in § 3553(a).” Id. at *4. Shkambi

 did not, however, render § 1B1.13 irrelevant with respect to defendant-filed motions under

 Section 3582(c)(1)(A), as the Fifth Circuit has long recognized that although not

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 dispositive, the commentary to § 1B1.13 informs the district court’s analysis as to what

 reasons may be sufficiently extraordinary and compelling to necessitate compassionate

 release. See U.S. v. Robinson, No. 3:18-CR-00228-01, 2021 WL 1723542 (W.D. La.

 04/30/2021), citing U.S. v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021). While not

 binding, § 1B1.13 suggests that the following are deemed extraordinary and compelling

 reasons warranting a sentence reduction: (1) the defendant’s medical conditions; (2) the

 defendant’s age; (3) family circumstances; or (4) other reasons. See U.S.S.G. § 1B1.13,

 cmt. n.1; see also Thompson, 984 F.3d at 433.

       “In general, the defendant has the burden to show circumstances meeting the test

 for compassionate release.” U.S. v. Stowe, No. H-11-803(1), 2019 WL 4673725 at *2

 (S.D. Tex. Sept. 25, 2019); see also U.S. v. Ennis, No. EP-02-CR-1430-PRM-1, 2020 WL

 2513109, at *4 (W.D. Tex. May 14, 2020) (“[T]he defendant has the burden to show

 circumstances meeting the test for compassionate release.”); U.S. v. Wright, No. 16-214-

 04, 2020 WL 1976828, at *6 (W.D. La. Apr. 24, 2020) (Petitioner has the “burden of

 showing the necessary circumstances, or a combination of circumstances, that would

 warrant relief under the compassionate release statute.”). In certain instances, the

 COVID-19 outbreak may affect whether an inmate can show extraordinary and

 compelling reasons warranting compassionate release under Section 3582(c)(1)(A)(i). If

 an inmate has a chronic medical condition that has been identified by the Centers for

 Disease Control (“CDC”) as elevating the inmate’s risk of becoming seriously ill from

 COVID-19, that condition, in light of the pandemic, may rise to the level of “extraordinary

 and compelling reasons” under Section 3582(c)(1)(a). In other words, some conditions

 that would not have previously constituted an “extraordinary and compelling reason” now

 fall into this category because of the risk of COVID-19.

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       Tuner argues his obesity, diabetes, and hypertension are extraordinary and

 compelling reasons for release. However, BOP records indicate that Turner has been

 fully vaccinated against COVID-19. See Record Document 63 (sealed) at 1. According

 to the Centers for Disease Control and Prevention, the COVID-19 vaccines available in

 the United States are highly effective at preventing COVID-19 and may also reduce the

 risk of serious illness in the case of a COVID-19 infection. See Benefits of Getting a

 COVID-19 Vaccine, Centers for Disease Control and Prevention, medical conditions,

 https://www.cdc.gov/coronavirus/2019-ncov/vaccines/vaccine-benefits.html (last visited

 September 23, 2021). Thus, even with his medical conditions, there is no extraordinary

 and compelling reason supporting compassionate release in light of Turner’s vaccination

 status. See generally U.S. v. Robinson, No. 3:18-CR-00228-01, 2021 WL 1723542 (W.D.

 La. 04/30/2021); U.S. v. Jones, No. 14-154, 2021 WL 1172537 (E.D. La. 03/29/2021);

 U.S. v. White, No. 11-287, 2021 WL 3021933 (W.D. La. 07/16/2021).

       Notwithstanding, even if this Court were to find that Turner had extraordinary and

 compelling reasons for compassionate release, granting such release in this case would

 not comport with the factors enumerated in Section 3553(a).          See 18 U.S.C. §

 3582(c)(1)(A). The Presentence Investigation Report demonstrates that Turner has a

 lengthy criminal history involving drug possession and drug distribution. See Record

 Document 40 (PSR) at ¶¶ 40-42, 49-50, 54. The instant offense involved a large amount

 of cocaine and Turner possessed a loaded handgun. See id. at ¶¶ 10-18. It is this

 Court’s belief that a reduced sentence in this case simply would not reflect the

 seriousness of the offense, would not promote respect for the law, would not afford

 adequate deterrence to criminal conduct, and would not protect the public from further



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 crimes of this Defendant. A reduced sentence would also create disparity with respect to

 defendants with similar criminal records who have engaged in similar criminal conduct.

                                     CONCLUSION

         Based on the foregoing reasons, Turner’s Motion for Compassionate Release

 (Record Document 56) be and is hereby DENIED.

         An order consistent with the terms of the instant Memorandum Ruling shall issue

 herewith.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 2nd day of November,

 2021.




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